                    Case: 25-1559
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                                                                    CIRCUIT

                                                   No. 25-1559

                       Atlas Data Privacy Corporation, et al.   vs. Deluxe Corporation, et al.

                                               ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Deluxe Corporation
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)               ✔ Appellant(s)
                                         ____                                ____ Intervenor(s)

         ____ Respondent(s)              ____ Appellee(s)                    ____ Amicus Curiae

(Type or Print) Counsel’s Name Angelo   A. Stio III, Esq.
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL: /s/ Angelo A. Stio III

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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
